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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


  THOMAS E. LUNNEEN,

           Plaintiff,                         Case No. 1:20−cv−01007−HYJ−PJG

      v.                                      Hon. Hala Y. Jarbou

  BERRIEN SPRINGS, VILLAGE OF, et al.,

           Defendants.
                                        /



                              NOTICE OF HEARING


  TAKE NOTICE that a hearing has been scheduled as set forth below:

  Type of hearing(s):    Status Conference
  Date/Time:             October 5, 2023 02:00 PM
  Chief Judge:           Hala Y. Jarbou
  Place/Location:        128 Federal Building, Lansing, MI


                                            HALA Y. JARBOU
                                            Chief United States District Judge

  Dated: September 22, 2023           By:    /s/ Brianna G. Sauve
                                            Case Manager
